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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  IRYNA ZHYRIADA,                                 :
                                                  :
                       Plaintiff,                 :          CIVIL ACTION
               v.                                 :
                                                  :          NO. 19-5703
                                                  :
  HEALTHCARE REVENUE RECOVERY                     :
  GROUP LLC, et al.,                              :
                                                  :
                       Defendants.

                                          ORDER


      AND NOW, this 25th day of October, 2021, upon consideration of the Joint Motion to

Amend the Scheduling Order and Extend Defendant’s Deadlines (ECF No. 15), IT IS HEREBY

ORDERED AND DECREED that the Motion is GRANTED.

      IT IS FURTHER ORDERED that:

      1. The deadline for fact discovery is extended to November 23, 2021;

      2. Any dispositive motion(s) shall be filed by December 17, 2021;

      3. The Trial List deadline will be scheduled for January 2022; and

      4. All other deadlines in the Scheduling Order are extended by 60 days.




                                                          BY THE COURT:

                                                          /s/ Petrese B. Tucker
                                                          ________________________
                                                          Hon. Petrese B. Tucker
